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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
                                       BOSTON


 ALAN V. SATTERWHITE,

                        Plaintiff,
 v.                                                            CASE NO.: 1:25-cv-10694

 BERKLEE COLLEGE OF MUSIC, INC.,

                        Defendant.


                          NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff ALAN V. SATTERWHITE by and through his undersigned counsel, and

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby dismisses the instant lawsuit, with prejudice,

with each party to bear its own costs, attorneys’ fees and expenses.

Dated: June 12, 2025                          Respectfully submitted,

                                              /s/ Andrew D. Epstein __ _______
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                                              Counsel for Plaintiff Alan V. Satterwhite


                                      Certificate of Service

       I certify that Plaintiff’s Notice of Dismissal was filed through the court’s ECF system
and a copy was sent electronically on the day it was filed to all counsel of record.

                                                     /s/ Andrew D. Epstein
                                                     ________________________
June 12, 2025                                        Andrew D. Epstein
